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                   323 FIFTH STREET                                                                                                 (800) 603-0836
                   EUREKA CA 95501                                                                           Para Español, Ext. 2660, 2643 o 2772
                                                                                                                 8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                                         Main Office NMLS #5985
                                                                                                                       Branch Office NMLS #9785




               CASIMIR J ROGALA
               1701 MAYFLOWER LN
               HUDSON OH 44236



Analysis Date: May 27, 2021                                                                                                                              Final
Property Address: 1701 MAYFLOWER LANE HUDSON, OH 44236                                                                                 Loan:
                                    Annual Escrow Account Disclosure Statement
                                                 Account History

      This is a statement of actual activity in your escrow account from Nov 2020 to June 2021. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information                   Current:      Effective Jul 01, 2021:                  Escrow Balance Calculation
 Principal & Interest Pmt:                 1,646.48               1,646.48                   Due Date:                                       May 01, 2021
 Escrow Payment:                             569.24                 653.85                   Escrow Balance:                                     (191.66)
 Other Funds Payment:                          0.00                    0.00                  Anticipated Pmts to Escrow:                        1,138.48
 Assistance Payment (-):                       0.00                    0.00                  Anticipated Pmts from Escrow (-):                      0.00
 Reserve Acct Payment:                         0.00                    0.00                  Anticipated Escrow Balance:                          $946.82
  Total Payment:                            $2,215.72                  $2,300.33


                      Payments to Escrow            Payments From Escrow                                        Escrow Balance
       Date           Anticipated   Actual          Anticipated     Actual             Description              Required       Actual
                                                                               Starting Balance                       0.00           0.00
      Nov 2020                        4,110.81                               * Escrow Only Payment                    0.00       4,110.81
      Dec 2020                          517.60                               *                                        0.00       4,628.41
      Jan 2021                          517.60                               *                                        0.00       5,146.01
      Jan 2021                          517.60                               *                                        0.00       5,663.61
      Feb 2021                          569.24                               *                                        0.00       6,232.85
      Feb 2021                                                      4,345.39 * Escrow Disbursement                    0.00       1,887.46
      Feb 2021                                                      2,525.08 * County Tax                             0.00        (637.62)
      Mar 2021                          569.24                               *                                        0.00         (68.38)
      Mar 2021                          569.24                               *                                        0.00         500.86
      Mar 2021                          569.24                               *                                        0.00       1,070.10
      Mar 2021                                                      1,831.00 * Homeowners Policy                      0.00        (760.90)
      Apr 2021                          569.24                               *                                        0.00        (191.66)
                                                                               Anticipated Transactions               0.00        (191.66)
      May 2021                      569.24                                                                                         377.58
      Jun 2021                      569.24                                                                                         946.82
                           $0.00 $9,648.29               $0.00     $8,701.47

      An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call
      our toll-free number.




                                                                                                                                             Page 1
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Last year, we anticipated that payments from your account would be made during this period equaling 0.00. Under
Federal law, your lowest monthly balance should not have exceeded 0.00 or 1/6 of the anticipated payment from the
account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
silent on this issue.




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Analysis Date: May 27, 2021                                                                                                                      Final
Borrower: CASIMIR J ROGALA                                                                                                         Loan:
                                               Annual Escrow Account Disclosure Statement
                                                      Projections for Coming Year

     This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
     from your account.

       Date              Anticipated Payments                                                                  Escrow Balance
                         To Escrow From Escrow               Description                                 Anticipated      Required
                                                             Starting Balance                                946.82       3,295.73
     Jul 2021              588.60         2,707.13           County Tax                                   (1,171.71)      1,177.20
     Aug 2021              588.60                                                                           (583.11)      1,765.80
     Sep 2021              588.60                                                                              5.49       2,354.40
     Oct 2021              588.60                                                                            594.09       2,943.00
     Nov 2021              588.60                                                                          1,182.69       3,531.60
     Dec 2021              588.60                                                                          1,771.29       4,120.20
     Jan 2022              588.60                                                                          2,359.89       4,708.80
     Feb 2022              588.60        2,525.08            County Tax                                      423.41       2,772.32
     Mar 2022              588.60                                                                          1,012.01       3,360.92
     Apr 2022              588.60        1,831.00            Homeowners Policy                              (230.39)      2,118.52
     May 2022              588.60                                                                            358.21       2,707.12
     Jun 2022              588.60                                                                            946.81       3,295.72
                        $7,063.20       $7,063.21

    (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
     Your escrow balance contains a cushion of 1,177.20. A cushion is an additional amount of funds held in your escrow
     balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
     Federal law, your lowest monthly balance should not exceed 1,177.20 or 1/6 of the anticipated payment from the account,
     unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
     this issue.

     Your ending balance from the last month of the account history (escrow balance anticipated) is 946.82. Your starting
     balance (escrow balance required) according to this analysis should be $3,295.73. This means you have a shortage of 2,348.91.
     This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
     deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 36
     months.

     We anticipate the total of your coming year bills to be 7,063.21. We divide that amount by the number of payments expected during
     the coming year to obtain your escrow payment.




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Analysis Date: May 27, 2021                                                                                                           Final
Borrower: CASIMIR J ROGALA                                                                                              Loan:

                                                                  Paying the shortage: If your shortage is paid in full, your new
     New Escrow Payment Calculation
                                                                  monthly payment will be $2,235.08 (calculated by subtracting the
     Unadjusted Escrow Payment                      588.60
                                                                  Shortage Amount to the left and rounding, if applicable). Paying the
     Surplus Amount:                                  0.00
                                                                  shortage does not guarantee that your payment will remain the same, as
     Shortage Amount:                                65.25
                                                                  your tax or insurance bills may have changed. If you would like to pay
     Rounding Adjustment Amount:                      0.00
                                                                  the shortage now, please pay the entire amount of the shortage before
     Escrow Payment:                               $653.85
                                                                  the effective date of your new payment. To ensure that the funds are
                                                                  posted to your account correctly, please notify your asset manager that
                                                                  you are paying the shortage.

    NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
    premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
    the principal balance of your loan is 80 percent or less of the current fair market appraised value of your home, and you have a good
    payment history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth
    Street, Eureka, Ca 95501 or 800-603-0836.

 * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
 updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
 or return in the self-addressed envelope.




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                           UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF OHIO
                                    AKRON DIVISION

 In Re:                                           Case No. 18-51273-amk

 Casimir J. Rogala
                                                  Chapter 13
 Lisa A. Rogala

 Debtors.                                         Judge Alan M. Koschik

                                 CERTIFICATE OF SERVICE

I certify that on June 9, 2021, a true and correct copy of this Notice of Mortgage Payment
Change was served:

Via the Court’s ECF System on these entities and individuals who are listed on the Court’s
Electronic Mail Notice List:

          David A. Mucklow, Debtors’ Counsel
          davidamucklow@yahoo.com

          Keith Rucinski, Trustee
          efilings@ch13akron.com

          Office of the U.S. Trustee
          (registeredaddress)@usdoj.gov

And by regular U.S. Mail, postage pre-paid on:

          Casimir J. Rogala, Debtor
          Lisa A. Rogala, Debtor
          1701 Mayflower Lane
          Hudson, OH 44236
                                                  Respectfully Submitted,

                                                  /s/ Molly Slutsky Simons
                                                  Molly Slutsky Simons (0083702)
                                                  Sottile & Barile, Attorneys at Law
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
                                                  Attorney for Creditor




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